            Case 2:14-cr-00134-WFN                      ECF No. 413           filed 03/29/16        PageID.1686 Page 1 of 6

                                                                                                                                  FILED IN THE
 sAO 2458 (Rev. 09/l l) Judgnent in a Criminal Case                                                                           U.S. DISTRICT COURT
                                                                                                                        EASTERN DISTRICT OF WASHINGTON
               Sheet   I Revised by WAED - 02116
                                                                                                                          Mar 29, 2016
                                            Umrpp Srares DIsrrucr CoURT                                                       SEAN F. MCAVOY, CLERK

                                                   Eastern District of Washington
          UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                               v.
                                                                        CaseNumber: 2:14CR00134-WFN-4
                   DILLON LEE CASTEEL
                                                                        USM Number: 17712-085

                                                                              Julie A.Twyford
                                                                        Defendant's Attomey




 E
 THE DEFENDANT:
 (nleaded guilty to count(s) I of the Superseding Indictment
 E pleaded nolo contendere to count(s)
    which was accepted by the court.
 n was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty ofthese offenses:

 Title & Section                    Nature of Offense                                                                  Offense Ended Count

2l U.S.C. $$ 8a8(e)(lXA) Murder in Connection with Conspiracy to Distribute 500 Grams of More of                          03t0vt4             15

   and 18 U.S.C. $     2            Methamphetamine




        The defendant is sentenced as provided in pages 2 through                         of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.

 E The defendant has been found not guilty on count(s)
 dCountls; 2 of the Superseding Indictrnent /is                    n are dismissed on the motion of the United States.
           It is ordered that the defendant mrst notifu the United States attorney for this district within 30 days- of any c\ange of name, residen.ce ,
 ormailineaddressuntilallfines.restitution.costs.-andspecial assessmentsirhposedbythisjudgrnentarefullypaid. Iforderedtopayrestltutlon'
 the defen-dant must notifo the co'urt and United States attorney of material changes in economic circumstances.

                                                            3/24t2016




                                                          Signature ofJudge




                                                          The Hon. Wm. Fremming Nielsen             Senior Judge, U.S. District Court
                                                          Name and Title of Judge



                                                                                3/ry//c
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AO   2458 (Rev. 09i I 1) Judgment in Criminal Case
          Sheet 2
                  - Imprisonment
                                                                                                       Judgrnent       Page
                                                                                                                   -
DEFENDANT: ONTONLEE CASTEEL
CASE NUMBER: 2:14CR00134-WFN-4


                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 180 Months

          With credit for any time served from March 6,2014 when arrested on state charges for same conduct which ultimately were
 dismissed.




     fl   fU"court makes the following recommendations to the Bureau of Prisons:

       That the Defendant be allowed to participate in the 500 hour residential drug treatrnent progtam, that he be designated to the
 Phoenix, Arizona facility, and that he be allowed to participate in the 60 month electrical program and any other available educational
 classes and/or programs.


     ( m" defendant is remanded to the custody of the United States Marshal.
     tr The defendant shall surrender to the United States Marshal for this district:
          Dat                                  tr a.m. I p.-. on
          tr as notified by the United States Marshal.
     tr The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        n before 2 p.m. on
          n     as notified by the United States Marshal.

          tr    as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on

                                                        with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSIIAL



                                                                            By
                                                                                                  DEPUry UMTED STATES MARSHAL
                Case 2:14-cr-00134-WFN                    ECF No. 413            filed 03/29/16       PageID.1688 Page 3 of 6


AO   2458 (Rev. 09/l l) Judgment in a Criminal Case
          Sheet 3
                  - Supervised Release
DEFENDANT: DILLON LEE CASTEEL                                                                                Judgnent-Page 3        of

CASE NUMBER: 2:14CR00134-WFN-4
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :                Life



                                           to the probation office in the district to whichthe defendant is released withinT2 hours of releasefromthe
custody       #f,iitlitrtfi;1,i?lJ.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfullv Dossess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
tribstan;4.- Th,e diifendant-shi[-sribinif io one drug testwithin i5 days of release &om imprisonment anil at least two periodic drug tests
thereafter, as determined by the court.

n          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk ot
           future substance abuse. (Checl<, if applicable.)

(          fn" defendant shall not possess a firearmo ammunition, destructive device, or any other dangerous weapon. (Chech rf applicable.)
V          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check if applicable.)

        defendant shall comolv with the reouirements of the Sex Offender Resishation and Notification              Act (42 U.S.C.   16901, gt-seq.)
LJ The                                                                                                                    $
   as directed by the probatioir officer, the Bureau of Prisons, or any state sefoffender registration agency in which he or she resrdes,
           works, is a student, or was convicted of a qualifuing offense. (Check, if applicable.)

 tr        The defendant shall participate in an approved program for domestic violence. (Chech if applicable.)
         If this iudgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Pafme-nts sheetbf this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additionalconditions
on the attached page.

                                           STAI\DARD CONDITIONS OF SUPERVISION
     l) the defendant shall not leave thejudicial district without the permission ofthe court or probation officer;
     2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4\ the defendant shall support his or her dependents and meet other family responsibilities;
     5)
      ' the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7\ the defendant shall refrain from excessive use ofalcohol;
     S) the defendant shall not purchase, possess, use, distribute or administer any controlled substance or paraphernalia related to
             any controlled susbstances, except as prescribed by a physician. Use, acquisition, or possession of marijuana with or without a
             physician's prescription is prohibited;

      9) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     l0)' the defendant shall not associate with any persons engaged incriminal activity and shall not associate with any person convicted ofa
          felony, unless granted permission to do soby the probation officer;
     II   ') the defendant shall permit a probation officer to visit himor her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plairi view of the probation officer;
     12) the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
     13)
      - the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and

     l4)
     ' '' as directed bv the orobation officer. the defendant shall notifo third paniesof risks that may be occas[oned by the defendant's criminal
          6ff,il;f,j.".iiril'tiiiio.v iir Ctiiii&6.isti;;-ild;[';ii-p;-nnif'ttre piobition officer to make such notificationi and to confirmthe
             defendantrs compliance ivith such notifi cation require'ment.
           Case 2:14-cr-00134-WFN                       ECF No. 413    filed 03/29/16         PageID.1689 Page 4 of 6

AO 245B    (Rev. 09/1 1) Judgrnent in a Criminal Case
           Sheet 3C
                      - Supervised Release
DEFENDANT: DILLON LEE CASTEEL
CASE NUMBER: 2:14CR00134-WFN-4

                                             SPECIAL CONDITIONS OF SUPERVISION
 15) You shall abstain from alcohol and shall submit to testing (including urinalysis and Breathalyzer) as directed by the supervising
 officer, but no more than 6 tests per month, in order to confirm continued abstinence from this substance.

 I 6) You shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatrnent provider, enter into and
 successfully complete an approved substance abuse ffeafinent program, which could include inpatient treatment and aftercare. You
 shatl contribute to tlte cost of treatment according to your abitity to pay. You shall allow full reciprocal disclosure between the
 supervising officer and treaftnent provider.

 17) You shall not enter into or remain in any establishment where alcohol is the primary item of sale.

 l8) You shall abstain from the use of illegal controlled substances, and shall submit to urinalysis testing (which may include urinalysis
 or sweat patch), as directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence
 from these substances.

 19) You shall submit your person, residence, office, or vehicle to a search, conducted by a probation officer, at a sensible time and
 manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to submit to
 search may be grounds for revocation. You shall wam persons with whom you share a residence that the premises may be subject to
 search.
            Case 2:14-cr-00134-WFN                       ECF No. 413          filed 03/29/16      PageID.1690 Page 5 of 6

AO 2458 (Rev. 09/11) Judgment in a Criminal Case
            Sheet 5       Criminal Monetarv Penalties
                      -
                                                                                                     Judgment       Page
                                                                                                                -
 DEFENDANT: OTTTON LEE CASTEEL
 CASE NUMBER: 2:I4CROOI34-WFN.4
                                                    CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                           Assessment                                  Fine                                 Restitution
 TOTALS                    s100.00                                     $0.00



d     ffr"determinationofrestitutionisdeferred          wfiil 6l22l20L6An Amended Judgment in a Criminal Case(AO245C) will be entered
      after such determination.

tr The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximate^ly p1opo4i999{p3yg1ent, unless,specified otherwise in
      ;6;io.iiy- ora;i;iftiFntagg [a!mi:ndcotuninteio*.-tto*erer,-puiiuant          to l8U.S.C. $ 3664C), all noirfederal victims must be paid
      befrire the"United Srites is paid.'"


Name of Payee                                                           Total Loss*         Restitution Ordered            Prtortty or Percenta$-




 TOTALS                                                         0.00



 n      Restitution amount ordered pursuant to plea agreement $

 tr     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to l8 U.S.C. $ 3612(0. All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to l8 U.S.C. $ 3612(g).

 n      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        fl the interest requirement is waived for the f] fine I restitution.
        E the interest requirement for the tr fine I restitution is modified as follows:

 * Findings forthe total arDunt of losses are required underChapters 1094, I10, I l0A, and I l3A of Title l8 for offenses committed on or after
 Sepiemb?r 13, 1994, but before April23, 1996.
             Case 2:14-cr-00134-WFN                   ECF No. 413            filed 03/29/16          PageID.1691 Page 6 of 6

AO   2458 (Rev.09/11)Judgment inaCriminal Case
          Sheet 6
                  - Schedule of Payments
                                                                                                             Judgment- Page      6     of
DEFENDANT: OtnON LEE CASTEEL
CASE NUMBER: 2:14CR00134-WFN-4


                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A tr Lump sum payment of $                                     due immediately, balance due


             tr   not laterthan                                    ,ol
             n    in accordance        I C, I D, tr           or I F below; or
                                                                     E,

Bd           Payment to begin immediately (may be combined with ! C,    I D, or fff belo*;; or
cn           Payment in   equal                   (e.g., weekly, monthly, quarterly) installments of $
                           (e.g., months or years), to   commence
                                                                                                                             over a period of
                                                                                (e.g., 30 or 60 days) after the date of this judgment; or

D n Payment in equal                               (e.g., weekly, monthly, quarterly) installments of    $                  over a period of
                           (e.g., months or years), to   commence                (e.g., 30 or 60 days) after release from imprisonment to a
             term ofsupervisiory or

        tr   Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

        (    Special instructions regarding the payment of criminal monetary penalties:


       Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
       penalties are payable on a quarterly basis ofuot less than 525.00 per quarter.

        While on supervised release, monetary penalties are payable on a monthly basis of aot less than $25.00 per month or l0% of the
        Defendant's net household incomeo wirilheve. is larger, commencing 30 days after the Defendant is released from imprisonment.



 Unless the court has expressly ordered otherwise, if this iudement imposes imprisonment, payr4ent of criminal monetary penalties is due
 ffiii,ffi ifi;il"i*iiirtl'Xli""?i*'ii'ii'iiiiii,v'riiiirilGi;dfi"'ri'iiii,l'iiiavmenfs made throigh the Federal Bureau of Prissns' Inmate Financial
 Ri'riiSrliiiiiitv pi;e;r;ilil;a;i;itle folfoi,r,iiic-;da'r;;;uiiii.ordtiiipenalties are paitrin tull: Clerk, U.S. District Court, Attention:
 Flndnce, p.Ol Box'l +93, Spokane, WA 992 I 0- I 493.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 n      Jointand Several

        Case Numbers (including defendant number) and Defendant and Co-Defendant Names, Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.




 n      The defendant shall pay the cost ofprosecution.

 D      The defendant shall pay the following court cost(s):

 n      The defendant shall forfeit the defendant's interest in the following properly to the United States:




 Pavments shall be applied in the followins order: ( I ) assessment, (2) restitution principal, (3) restitution .interest, (4) fine principal,
 (5f fine interest, (6)'cbmmunity restitution-, (7) penalties, and (8) costs, including cost of prosecutlon and court costs.
